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                             tJNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH DAKOTA
                                    SOUTHERN DISTRICT


Norman Lee Gunn,in his personal appearance as,                               Case#:            CV
                 Plaintiff,
vs.                                                                          MEMORANDUM
                                                                            OF AUTHORITIES
Kipp Steams,in his individual and oflicial capacity
as Deputy Sheriff, Katelynn B.Hoffman,in her
individual and official capacity as Turner County
District Attorney,the Honorable Donna L. Bucher
Jointly and Severely,
                             Defendants,

             ********* A A                A*A*AsV ****************




       COMES NOW,THE PLAINTIFF,NORMAN LEE GUNN,appears Attorney Pro Se,
and in furtherance of his Complaint against Mr. Kipp Steams in his individual and official
capacity as Deputy Sherifffor Trimer County, South Dakota, Katelynn B. Hoffman,in her
individual and official capacity as Tumer County District Attomey, and the Honorable Donna L.
Bucher in her individual and official capacity as Judge in Tumer County herein states the
following:

                                   STATEMENT OF FACTS


       There is a panoply of players and a milieu ofmaterial facts, but the material facts that are
relevant to this case are undisputed. On September 12,2023, Plaintiff was stopped by Deputy
Kipp Steams allegedly for not having license plates on his personal vehicle.

        The plaintiff exited his vehicle to inquire why he was being stopped. To his surprise
Deputy Kipp grabbed his arm and twisted his arm behind his back, where he immediately placed
handcuffs on the Plaintiff effectively taking him into custody. Mr. Kipp performed a pat down
and removed a pistol from the Plaintiff. Plaintiff explained to Kipp that he had not committed
any crime,that the United States Supreme Court had held that an individual citizen driving his
personal vehicle was not required to have license plates on his personal vehicle in order to travel
the streets, roads, highways, and interstates in America. Kipp issued a citation in direct
noncompliance of the Supreme Court's decisions. Once informed, Kipp should have stopped
what he was doing and either investigated further before citing the Plaintiffi or Just let him go on
his way.

        On or about September 29,2023, Kipp stopped the Plaintifffor a second time in two
weeks and issued another citation for the same offense, again with the knowledge that he did not
have Probable Cause to do so. This time the Plaintiff left his pistol in his vehicle. The Plaintiffs
pistol was seized by another deputy without a warrant or any exception to a warrantless search.
                                                4.
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        Furthermore, Kipp impounded the Plaintiff's personal vehicle, depriving the Plaintiff of
said personal property without Probable Cause, a Warrant, and without Due Process for more
liianlll days.

       The plaintiff appeared in court on the first citation issued by Deputy Kipp. The plaintiff
stood his groimd on Constitutional Rights and refused to plead to a crime he did not commit.
Although the first citation was not prosecuted against the Plaintiff^ the District Attorney
Katelynn Hoffman told the court that they would,"GET HIM" at the next hearing.

        The Plaintiff made his appearance on the second citation, again refused to plead, wherein,
the Court threatened Plaintiff with contempt ofcourt if he did not plead, but Plaintiff continued
to stand on his Constitutional Rights. The Court entered a plea for the Plaintiff.
A violation of42 US Code § 12203(a).

        Shortly thereafter, the Defendant Hoffman sent the Plaintiff a letter wanting Plaintiff to
take a plea deal. Plaintiff declined Hoffman's plea offer, wherein, Hoffman threatened to file
criminal charges upon the Plaintiff. Thereafter, case 62POA.23-208 was filed. Notice ofEntry
was filed, and....

       On January 8,2024,Plaintiffreceived a letter from die Turner Coimty Court advising
him that he no longer is required to come back to court, and that all charges have been dropped
against him (e.g., 23-208 and 23-258) were dismissed.

                                JURISDICTION AND VENUE


       • ARTICLE III-"The judicial power extends to all cases...; 28 U.S. Code § 1331
         -Federal Question";"28 U.S. Code § 1343(a)Supplemental Jurisdiction."

                                  STANDARD OF REVIEW


       STRICT SCRUTINY - State must have a"Compelling Interest" and it must be
       "Narrowly Tailored" to be applied where a law may be infringing on individual
       freedoms."


                                    OUESTIONS OF LAW


       T.      Was Plaintiff, Norman Gunn denied his Constitutionally protected Common Law
               right to travel where the State has converted the right to travel into a privilege?
               YES


       2.      Was the Plaintiff, Norman Gunn denied due process oflaw by the State wherein
               the State ignored the Common Law principles of personal property rights and
               principles of a crime and prosecuted the Plaintiffunder Statutory Rules that
               circumvent the United States Constitution and the Common Law? YES
                                                    2.
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     3.   Were Plaintiff's Common Law and Constitutionally Protected Fundamental
          "Rights violated as applied to the Staters through theTourteenth Amendment
           by the States prosecution for not obtaining license plates of his personal
          vehicle(s)?^ES

     4.   Was the Plaintiff, Norman Gimn denied a fair and impartial trial when he was
          threatened with contempt"by the "Judge for arguing the law with the court? "YES

                                  U.S. CONSTITUTION


          • ARTICLE III-"The judicial power shall extend to all cases "
          • ARTICLE VI-"The Constitution is the Supreme Law of the Land
            judges arebound thereby...
          • 1st Amendment-"Right to pursue Life, Liberty and Happiness."
          • 4th Amendment-"Right to be free from Unreasonable Search and
               Seizures...
          • 5th Amendment-"Right to Due Process...."
          • 14th Amendment-"Right to Apply the Bill of Rights Protection to the
               States...."


                     FEDERAL & STATE STATUTORY LAW


               42 U.S. Code §1983-Yiolafion of Civil Rights.
               28 U.S. Code § 1331-Federal Question.
               28 U.S. Code § 1343(a)- Original Jurisdiction.
               28 U.S. Code § 1367(a)- Supplemental Jurisdiction.
               28 U.S. Code §1391(b)-Tenue.
               28 U.S. Code § 1985- Conspiracy to Interfere with Civil Rights.
               42 U.S. Code § 12203(a)- Prohibition ofRetaliation and Coercion.
               SDCL § 32-1-3 Motor vehicle powers of Department of Revenue.
               SDCL § 32-5-98. Operation of motor vehicles without visible license
               plates prohibited— Removal of unauthorized plates—Violation as
               misdemeanor.


                                      CASE LAW


          a.      Buchanan v. Warbv. 245 US 60(1917)
                  "The police power of the State must be exercised in subordination to the
                  provisions ofthe U.S. Constitution.^'

          b.      Bovd V. United States, 116 US 616
                  "It is the duty ofthe courts to be watchful for the Constitutional rights of
                  the citizens and ag^st any stealthy encroachments thereon.""

                                                   3.
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          c.    Bversv, United States, 273 U.S. 28, 32(1927)
                ''Constitution^ provisions to be liberally construed^'

          d.    Chicaso Motor Coach v. Chicago. 169 NE 22
                Ligare v. Chicago. 28 NE 934.
                Boonv. Qafk. 214 SSW 607.
                "The use of the highways for the purpose oftravel and transportation is
                not a mere privilege, but a common and fundamental right of which the
                public and the"individual cannot be rightfully deprived

          e.    Connelly v. Union Sewer Five Co,. 184 U.S. 540
                "With regard to the U.S. Constitution, it is elementary that a right secured
                or protected by the document cannofbe overthrown or"impdred by any
                state police authority."

          f.    Bale V. HehkeL 201 U.S. 43(1906)
                "We are of the opinion that there's a clear distinction... between an
                individual and a corporation.... The individual may stand upon his
                constitutional rights as a citizen. He"is entitled to carry on his private
                business in his own way. His power to contract is unlimited. He owes
                no duty to the State        He owes no such duty to the State, since he
                receives nothing there&om beyond the protection of his life and property.
                His rights are such as existed by the law ofthe land antecedent to the
                organization ofthe State, and can only be taken from him by due process
                oT law, and in accordance \rith the Constitution."

          g.    Hurtado v. California. 110 U.S. 516
                "The State cannot diminish Rights ofthe people. Due process of the law
                "is process oflaw according to the law ofthe land,"i.e. the"U.S.
                Constitution as exercised within the limits prescribed and interpreted
                according to the principles ofcommon law^"

          h.    Marbury v. Madison, 5 U.S. 137
                "The Constitution is the Supreme Law ofthe Land. Any law that usurps
                the Constitution"is null & void from itsInception, and can be"ignored with
                impunity."

          i.    Miller V. K5:.23Q P.2d 486,489
                "The claim and exercise of a Constitutional Right cannot be converted into
                a crime."


          j.    Miranda v. Arizona, 384 U.S. 436,491
                "Where rights secured by the Constitution are involved, there can be no
                nilemaking or legislation which woiild abrogate them."

                                         4.
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          k.    Murdoch v. Pennsylvania. 319 U.S. 105
                "The State may not convert a secured liberty into a privilege and issue a
                license and fee for it."


          1.    Sherbertv, Verner. 374 U.S. 398(1963)
                "First Amendment case, U.S. Supreme Ct. overturned South Carolina
                Supreme Court. The court created the Sherbert Test to determine whether
                government acts infringe upon [individual] freedoms. Of note:
                "compelling interest" and "narrowly tailored" are key requirements for
                strict scrutiny -to be applied where a law may be infringing on individud"
                freedoms."


          m.    Shuttlesworth v, Birminsham. Alabama,373 U,S,262
                "If the State does convert your right into a privilege and issue a license
                and charge a fee for it, you can ignore the license and fee and engage in
                the right with impunity.'"

          n.    Simmons v. United States, 390 US 389
                "We find it intolerable that one Constitutional Right should have to be
                surrendered in order to assert another."


          o.    Sherar v. Cullen,481 F.2d 945
                "There can be no sanction or penalty imposed upon one because of this
                exercise of Constitutional Rights^"

          p.    Stevhenson v. Binford, 287 US 251
                "Explains the distinction between 'a Right' to use public roads and
                Privilege.^

          q.    Thompson v. Smith, 154 SE 579
                "The Right ofthe citizens to travel...is not a mere privilege... but a
                common Right which he has under the right to "life, liberty, and the
                pursuit of happiness."

          r.    United States v. Carolina Products Co.. 304 U S. 144 (1938).
                "Strict Scrutiny Standard."

          s.    VS V. Bishop. 412 US346
                "Regarding criminal elements required to be proven... willfulness is one
                ofthe major elements defmed as an "evil or intent to avoid a known
                duty... under the law?'

          t.    Heitman v. State 815 S.W.2d 681 (Tex.Crim.. App 1991), and Hulit v.
                     982 S:W.2d 431 (Tex.Crim.App.1998).
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                                          ARGUMENT


    1. Was Plaintiff, Norman Gunn denied his Constitutionally protected Common Law
       right to travel where the State has converted the right to travel into a privilege and
       charge a fee fbr it? YESi

           The Plaintiff Norman Lee Gunn herein after known as Norman,claims he has both a
Common Law and a Constitutional Right to freely travel the roads, streets and highways
anywhere in the United States without interference, so long as he does not impede the rights of
others. The State claims in accordance with SDCL § 32-1-3 Motor vehicle powers of
Department of Revenue -that the [South Dakota] Department of Revenue shall exercise the
powers, and have charge ofand perform functions, duties, and services with respect to the
registration and licensing of motor vehicles ... and under SDCL § 32-5-98, no person may
operate or drive a motor vehicle on the public highways of this state imless the vehicle has a
distinctive number assigned to it by the department, and two number plates, bearing the number
conspicuously displayed         Norman asserts affirmatively that these State laws violate his
Common Law and Constitutional Rights. It appears South Dakota's Motor Vehicle statutes are
designed to raise revenue and convert a right into a privilege and then charge a fee fbr it. See
Murdoch v. Pennsylvania. 319 US 105,the Court held,"The State may not convert a secured
liberty into a privilege and issue a iicense and charge a fee fbr it.""

        Article III, Section 2, Clause 2 of the Constitution grants the Supreme Court "original
Jurisdiction"" over "all Cases affecting Ambassadors, other public Ministers and Consuls, and
those in which a State shall be Party." Article III, Section 2, Clause 1 of the Constitution...
shall extend to all Cases,in Law and Equity, arising under this Constitution, the Laws ofthe
United States ... between a State, or the Citizens thereof.... Particular note here, the State's
police powers must be exercised in subordination to the provisions ofthe U.S. Constitution. See
Buchanan v. Warlev. 245 US 60(1917).

            In Chicaso Motor Coach v. Chicaso.169 NE 22, the Court held,"[It]is elementary
that a Right secured or protected by [the Constitution] cannot be overthrown or impaired by any
state police authority." Norman was conducting his own business not hurting or interfering with
any odiers rights. Norman was not operating at any time material to this proceeding as a
commercial operator. Exercising one's Common Law and Constitutional Rights is not a crime.
See Miller V, VS.,230 F.2d 486,489, where the Court held,"The claim and exercise of a
Constitutional Right cannot be converted into a crime -i.e. violation ofSDCL § 32-5-98.

           The Constitution is the Law of the Land in deciding issues concerning an individual's
rights when the limits of a State's authority usurp these rights and the States interests' conflict
with the individual citizen rights. The State must show a compelling interest fbr the law, and the
law must be narrowly tailored keeping in mind the individual citizens Constitutional Rights are
not infringed. See Sherberi v. Verner, 374 US 398 (1963). See also Strict Scrutiny -burden.


                                                7,
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             Here, Norman is relying on his First Amendment Right of Life, Liberty, and the
pursuit of Happiness. Under the "Sherbert Test" the Court looks to see ifthe State's action
interferes with the free exercise of his or her Constitutional Rights. As the record indicates, the
State's vehicle licensure statute violates Norman's First Amendment Constitutional protections.
See also Marburv v. Madison. 5 U.S. 137: Bovd v. United States, 116 US 616.

           The Supreme Court has repeatedly held in the panoply ofcases that it is the Right of
the citizenry to freely travel on the roads, streets and highways of our great country, and that a
Right cannot be legislated away by overreaching legislative rulemaking, courts interpretations
thereof and police enforcement policies. Quoting Chica20 Motor Coach v. Chica20,169 NE 22.
"The use of the highways for the purpose of travel and transportation is not a mere privilege, but
a common and fundamental Right of which the public and the individual cannot be rightfully
deprived."

          In Connollvv, Union Sewer Pipe Co,, 184 US 540, the Court stated,"With regard
particularly to the U.S. Constitution, it is elementary that a Right secured or protected by the
Constitution cannot be overthrown or impaired by any state police authority."

          On this topic, Hale v. HenkeL 201 U.S. 43(1906)the Court held,"We are of the
opinion that there's a clear distinction... between an individual and a corporation.... The
individual may stand upon his constitutional rights as a citizen. He is entitled to carry on his
private business in his own way... He owes no duty to the state ...His rights are such as
existed by the law of the land long antecedent to the organization ofthe State and can only be
taken from him by due process of law, and in accordance with the Constitution."

          Considering the holdings in the above numerated cases, the answer to Norman's first
question of Law is a resounding YES!

    2. Was the Plaintiff, Norman Gunn denied due process oflaw by the State wherein the
       State ignored the Common Law principles of personal property rights and
       principles of a crime and prosecuted the Plaintiff under Statutory Rules that
       circumvent the United States Constitution and the Common Law? YES!

        During the second oftwo traffic stops in a two-weeks, Deputy Kipp cited Norman a
second time. Just like in the first stop two-weeks before, Kipp did not have probable cause to
affect the stop. In South Dakota prior to 1983,the standard for justifying an investigatory traffic
stop was Probable Cause. Sqq State v. Anderson,331 N.W.2d 568 fl983L No crime was
committed here! Norman's Fourth Amendment right was violated.

       Norman contends that although Kipp may have believed he had a reasonable suspicion
that Norman was committing a Class 2 Misdemeanor under SDCL § 32-5-98 he was
wrong to assume this fact. Norman disagrees with the new standard of reasonable suspicion
because this standard violates the Probable Cause standard promulgated in the Fourth
Amendment. Norman relied on Marburv v. Madison. 5 U.S 137, where the Court held the
"Constitution is the Law of the Land. Any law in conflict is null and void" from its inception.
                                                 8.
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See also Shuttlesworth v. Birminshanu Alabama,373 U.S. 262,the Court held that,"If the state
does convert a right into a privilege and issue a license and fee for it, you can ignore the license
and fee and engage in the right with impunity." See also Murdoch v. Pennsylvania. 319 US
105. Norman was aware ofthe case law established by the Supreme Court. Norman was
exercising his rights under the First Amendment of Life, Liberty, and the pursuit of Happiness.

        In Bversv. U.S., 273 U.S. 28,32(1927), the Court held the Constitutional provisions to
be liberally construed, and "it is the duty of courts to be watchful for the constitutional rights of
the citizen, and against stealthy encroachments thereon." Again,"The police power ofthe State
must be exercised in subordination to the provisions of the U.S. Constitution." Buchanan v,
 Warlev, 245 US 60(1917). In reaching this conclusion, we recognize that state constitutions
cannot subtract from the rights guaranteed by the United States Constitution, but they can
provide additional rights to their citizens. The decisions ofthe Supreme Court represent the
minimum protection which a state must afford its citizens. Heitman v. State 815 S.W.2d 681
(Tex.Crim.App. 1991), and gn/ft v.            982 S.W.2d431 (Tex.Crim.App. 1998).

       Norman's personal vehicle was impounded without due process and held by the Turner
County Sheriffs Department for one hundred eleven days. Even after the charges were dropped
against Norman in January 2024,the Turner County Sheriffrefused to release Norman's
personal vehicle unless he paid the impound fees. It took a call from the defendant Ms. Hoffman
named above to effectuate the release ofNorman's personal vehicle without having to pay the
fees.


       Norman was claiming and exercising a Constitutional Right of"Due Process" in
accordance with the Fifth Amendment. The Defendant's knew or should have known they had
no probable cause to impound Norman's vehicle, issue the citations, and prosecute him for a
crime he didn't commit. The answer to Norman's second question oflaw is unequivocally. YES!

    3. Were Plaintiffs Fourteenth Amendment rights violated by the States prosecution
       for not obtaining license plates on his personal vehicle(s)? YES!

       Norman relies on the Procedural Due Process and the Substantive Due Process of the
Fourteenth Amendment as the nexus to the States. The Fourteenth Amendment - Due Process of
Law Section (1.) All persons bom or naturalized in the United States ... are citizens ofthe
United States and the State wherein they reside. No State shall make or enforce any law which
shall abridge the privileges or immunities of citizens of the United States ...and deprive any
person oflife, liberty, or property, without due process oflaw... or the equal protection ofthe
laws.


       The Fourteenth Amendment Due process can be broken down into two categories:
(a). Procedural due process and (b). Substantive due process.- Procedural due process is
based on principles of"fundamental fairness," addresses which legal procedures are required to
be followed in state proceedings. Substantive due process-i.e. "Equal Protection" - although
also based on principles of"fundamental fairness", allows courts to establish and protect

                                                  9.
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substantive laws and certain fundamental rights from government interference, even ifthey are
unenumerated elsewhere in the U.S. Constitution.

       Procedural Due Process calls for a minimum of a trial by ajury of his peers i.e. an equal
protection claim. Norman was deprived of due process when his personal vehicle was
impounded. The vehicle in question was kept from him for 111 days without due process oflaw.

       Moreover, Norman's Substantive Due Process was also violated. Before the State court
arrived at the prosecutorial steps, the court should have protected Norman's Common Law and
Constitutional Rights. The court refused to protect Norman's rights. Norman stood on his
Constitutional Rights, refused to plead guilty to a crime he never committed, but then the court
entered a plea for him. See Bvars v. U.S„ 273 U.S. 28, 32(1927),"[I]t is the duty of courts to be
watchful for the constitutional rights of the citizen, and against any stealthy encroachments
thereon."


        The issue isn't whether the trial court had a reasonable and necessary procedural right to
enter a Not Guilty plea for Norman? But did Norman have a Common Law or fundamental right
guaranteed under the U.S. Constitution to not plead at all to a non-crime relying on his
Constitutional Rights for protection?

       Here the record shows that Norman didn't commit a criminal act at all. If no crime is
committed there is nothing to plead with. In Sherar v. Cullen. 481 F.2d 945, the court held that,
"There can be no sanction or penalty imposed upon one because of this exercise of constitutional
Rights." See also US v. Bishop,412 US 346,"Regarding criminal elements required to be
proven- willfulness is one ofthe major elements defined as an "evil motive or intent [i.e. mens
rea- state of mind]to avoid a known duty... under the law."

       Norman not only lacked the "mens rea" but he also owed no duty to the State under these
facts. In Hale v. HenkeL 201 U.S. 43(1906)the Court held that,"The individual may stand
upon his constitutional rights as a citizen     He owes no duty to the State... He owes no duty
to the State, since he receives nothing therefrom beyond the protection of his life and property.
His rights are such as existing by the law of the land long antecedent to the organization ofthe
State, and can only be taken fi:om him by due process of law, and in accordance with the
Constitution."


       To add insult to injury here, the trial court threatened Norman with contempt of court in
violation of42 U.S. Code § 12203(a). Under § 12203(a), its unlawful to "Coerce,intimidate,
threaten, or interfere with any individual in the exercise or enjoyment of their rights granted or
protected by 42 U.S. Code § 1983- Violation of Civil Rights, or Retaliate against any individual
who opposes any act or practice made unlawful by this chapter, or who participates in an
investigation, proceeding, or hearing \mder this chapter.

        In Harlow v. Fitzeerald. 457 U.S. 800 (1982),the Court held that,[The] public officials
are entitled to "qualified immunity" from "liability for civil damages insofar as their conduct
does not violate clearly established...rights of which a reasonable person would have known."
                                               10.
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Responsibility would violate the constitutional rights ofthe [plaintiff], or if he took the action
with the malicious intention to cause a deprivation of constitutional rights or other injury     "
"Clever and unusually well-informed violators of constitutional rights will not evade just
punishment for his or her crimes"(e.g.. State Attorney's or Judges). The Plaintiff agrees that this
standard applies "across the board," to all "government officials."

       Procedural Due Process Civil Rights Claims under 42 U.S.C. § 1983 in South Dakota
Courts one ofthe two components of the Fourteenth Amendment's due process clause is put
simply, is the requirement that an affected party have some kind of notice and an opportunity to
be heard before a governmental decision is made against him or her. See Mathews v. Eldridee,
424 U.S. 319(1976).

        In order to sustain a Fourteenth Amendment deprivation of procedural due process claim,
the plaintiff must establish(1)the existence ofa constitutionally cognizable liberty or property
interest; and (2)a deprivation ofthat interest without an appropriate level of process or
procedural safeguards. Norman asserts his Fundamental common law right to free travel in
furtherance of his Life, Liberty and pursuit of Happiness; and a property right interest in
enjoying due process to keep his property from illegal seizure under the Fourth Amendment.
The Constitution requires due process "prior" to seizure not"when the State gets around to it!"

        In analyzing the first element, whether the plaintiff has a cognizable liberty or property
interest, courts look to independent sources. That is, property interests are not created by the U.S.
Constitution itself but, rather, are derived from laws, rules or "understandings that secure certain
benefits and that support claims of entitlement to those benefits." Examples of independent legal
sources where constitutionally protected liberty and property interests can stem from include
state statutes, ordinances, contracts, implied contracts, and rules and understandings developed
by state officials. See Heuizenroeder v. Mesa Ctv, Valley School, 391 Fed. Appx. 688,691 (10th
Cir. 2010).

        To be constitutionally cognizable, a liberty or property interest must be both specific and
presently enforceable. That is, the liberty or property interest must be more than an abstract need
or desire; the plaintiff must have a legitimate claim of entitlement to it. Examples of cognizable
property interests that courts have recognized include, but are not limited to imemployment and
social security benefits, access to welfare, and rights granted by local governments and
fundamental Rights.

       Here Norman is entitled to and can stand on his Constitutionally protected Right to Due
Process, Equal Protection, and Life, Liberty and the pursuit ofHappiness. See 5th & 14th Amdt.

       In other words, a particular interest will be more likely to be seen as a fundamental Right,
and less as a discretionary grant, where the procedures direct a particular outcome and limit the
amount of discretion involved in coming to that outcome. See Hale v, Henkel 201 U.S. 43
(1906).


                                                11.
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        One important note, however, is that there is no cognizable property interest in procedure
only. That is, where the alleged interest is purely that a particular procedure was not followed,
and there is no actual deprivation ofliberty or property, the procedure itself cannot be used to
establish a cognizable liberty or property interest.

         Norman claims a common law and fundamental Right that has been trampled on by the
trial court and the District Attorney. The threat of contempt by the court in retaliation for not
pleading to a crime Norman didn't commit, and threats of criminal charges for not taking a plea
bargain are contrary. Norman didn't have any rights here. The court even told Norman that.
"We don't follow Article III in this courtroom." Criminal persecution just to win a case is not
fair or impartial to overcome a valid Deprivation of liberty or a property rights claim.

       Where a cognizable liberty or property interest is at issue, the analysis turns to the second
element, whether a "deprivation of that interest occurred without appropriate procedural
safeguards." They turn to federal constitutional law to determine the second, appropriate level of
process element. In analyzing this second element, courts apply a 3 factor balancing test to
determine if sufficient process was provided. Specifically, the courts weigh:

         (1) the private interest that will be affected by the governmental action at issue.
             Here, Norman has an undisputed Constitutional Right to travel...; and a
             Due Process property right requiring a minimum of"notice, a hearing, and an
              impartial tribunal"...;
         (2) the risk of an erroneous deprivation of such interest through the procedures used,
             and the probable value, if any, of additional or substitute procedural safeguards,
             here, Norman is entitled to stand on Common Law precedents prior to the
             procedures, and subsequent fundamental protections guaranteed by the U.S.
             Constitution thereafter. Whether or not Norman pleaded innocent, or he's
            found guilty, he faced a Class 2 Misdemeanor for a charge he couldn't have
             committed based on his fundamental Rights. The Court's duty is to protect
             Norman's Rights;
         (3) the government's interest, including the function involved and the fiscal and
              administrative burdens that the additional or substitute procedural requirements
              would entail, here. Stare Decisis precludes any State Action that violates
              Common Law, Constitutional Law,or Supreme Cout case precedent. There is
             no discretionary areas here. Any statute that usurps the Constitution is null &
             void from its inception, and can be ignored with impunity. See Marburv v.
             Madison. 5 U.S. 137 ond Shuttlesworth v. Birmineham,Alabama. 373 U.S. 262.

       Here the State is attempting to turn a Right into a Privilege and charge a fee for it to raise
revenue to pay the bills accrued by operating the State that circumvents a Constitutionally
protected Right. Not only is this not a "Compelling Interest" but it is not "Narrowly Tailored"
a requirement under the Strict Scrutiny standard, and is an infringement on Norman's common
law and Constitutional Rights inclusive.


                                                12.
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       Additionally, the U.S. Supreme Court generally has held that due process requires some
kind of hearing before the state deprives a person of liberty or property. The Due Process Clause
- The guarantee of due process for all persons requires the government to respect all rights,
guarantees, and protections afforded by the U.S. Constitution and all applicable statutes before
the government can deprive any person of life, liberty, or property. This Right does not say,
"Whenever we get around to it" The 5th Amendment Due Process clause states procedure is
precedent to a deprivation, not antecedent to the deprivation and is apphcable through the
Fourteenth Amendment to the States.

        Moreover, procedural due process claims involving administrative decisions, when a state
affords reasonable remedies to rectify legal errors by local administrative bodies, including
avenues of appeal, allegations that the local administrative body reached its decision on
erroneous reasoning are not sufficient to establish a procedural due process claim. This theorem
creates a slippery slope situation. If Norman was not committing any crime at all, why is he
required to invest his time and money in defending a criminal claim for a crime he didn't
commit. This theorem also eviscerates the Probable Cause element under the Fourth
Amendment.


        The Fifth Amendment of the U.S. Constitution "No person shall be held to answer for a
capital, or otherwise infamous crime, unless on a presentment or indictment ofa grand jury,
except in cases arising in the land or naval forces, or in the militia, when in actual service in time
of war or public danger; nor shall any person be subject for the same offense to be twice put in
jeopardy oflife or limb; nor shall be compelled in any criminal case to be a witness against
himself, nor be deprived of life, liberty, or property, without due process oflaw; nor shall private
property be taken for public use, withoutjust compensation." The answer to Normans fourth
question oflaw is YES!

WHEREFORE:


The Plaintiff respectfully prays to the Court for amicable and equitable relief, including
but not limited to compensatory, contributory, and punitive damages allowed under
applicable law.

The Plaintiff respectfully prays to the Court to strike down the licensure statute in this case
due to its Constitutionally illegal to impose a sanction or fee for exercising an individual
citizen Right to freely travel in America.

The Plaintiff respectfully prays the Court review prior State Actions involving similar cases
with similar outcomes due to the repetitiveness of the civil rights blatant offenses under
States actions involving the Constitutional Protections under the Bill of Rights.




                                                 13.
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                                                               Respectfully Submitted,

                                                               Norman Lee Gunn


PROOF OF SERVICE


The undersigned certifies under penalty of perjury
that a true copy of the foregoing was filed

      With the Clerk of Federal Court


a true copy shall be served on each interested party
at their last known address on this
  iQ day of /y1P~h<^/y^ ,
■v.
7
NORMAN LEE GUNN




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